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                     UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

RUMBLE, INC.,                               )
                                            )      CASE NO: 8:23-CV-2718
                         Plaintiff,         )
                                            ) DEFENDANTS’ OPPOSITION TO
        vs.                                 )   RUMBLE, INC.’S MOTION TO
                                            )  EXTEND THE DEADLINE FOR
NANDINI JAMMI, CLAIRE ATKIN,                ) MOTIONS TO ADD PARTIES OR TO
and JOHN DOE NOS. 1-10,                     )      AMEND PLEADINGS
                                            )
                         Defendants.        )

        Pursuant to Federal Rules of Civil Procedure 6(b)(1) and 16(b)(4), Defendants

Claire Atkin and Nandini Jammi (“Defendants”) respectfully submit this brief in

opposition to Plaintiff Rumble, Inc.’s (“Rumble”) Motion to Extend the Deadline for

Motions to Add Parties or Amend Pleadings. Dkt. 74 (the “Amendment Deadline

Extension Motion”).

                               MEMORANDUM OF LAW

        Rumble’s renewed motion to extend its deadline to move to add parties or

amend its pleadings until sixty (60) days after Defendants certify the completion of

their document production to Rumble’s First Set of Requests for Production should be

denied for two reasons: (I) lack of good cause (i.e., diligence) and (II) the proposed

extension would prejudice Defendants and waste judicial resources.

   I.         Rumble Has Not Identified Good Cause for its Requested Extension

        Rumble has failed to demonstrate the diligence necessary to justify extending

its time to file a motion seeking leave to add parties or otherwise amend its pleadings.
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Rule 16(b) precludes modification of the scheduling order unless Rumble can show

“good cause” – i.e., that the scheduling order cannot be met despite Rumble’s

diligence. Fed. R. Civ. P. 6(b), 16(b)(4). “This good cause standard precludes

modification unless the schedule cannot be met despite the diligence of the party

seeking the extension.” Hannah v. Sky Grp. USA, LLC, 2020 WL 13357800, at *1

(M.D. Fla. July 24, 2020) (quoting Sosa v. Airprint Sys. Inc., 133 F.3d 1417, 1418 (11th

Cir. 2020)).1 Courts assess three factors when considering a party’s diligence:

       (1) [w]hether the plaintiff failed to ascertain facts prior to filing the
       complaint or failed to acquire information during the discovery period,
       (2) whether the information supporting the proposed amendment was
       available to the plaintiff, and (3) whether, even after acquiring the
       information, the plaintiff delayed in requesting leave to amend.

Arianas v. LVNV Funding LLC, 307 F.R.D. 615, 616-17 (M.D. Fla. 2015) (quoting Sosa,

133 F.3d at 1419). If Rumble was not diligent in seeking the facts it needed to amend

its pleadings, there is no good cause to permit an extension of time to add parties and

this motion should be denied. Sosa, 133 F.3d at 1418 (citing Johnson v. Mammoth

Recreations, Inc., 975 F.2d 604, 609 (9th Cir.1992)). See also Al -Saadi v. AnnChery Fajas

USA, Inc., 2022 WL 2056802, at *4 (S.D. Fla. May 13, 2022) (“[L]ack of diligence can

include a plaintiff’s failure to timely seek discovery to obtain the information necessary

to determine whether there are grounds for an amended complaint.”), report and

recommendation adopted, 2022 WL 2174237 (S.D. Fla. June 16, 2022).




1
 When a motion to amend is filed after a scheduling order deadline, Rule 16 is the proper guide for
determining whether a party’s delay may be excused. Sosa, 133 F.3d at 1419.

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        Here, Rumble cannot satisfy the first Sosa factor because it knew from before it

filed this litigation that it needed specific information to add John Does as parties but

failed to take the necessary steps to acquire that information before the relevant June

7, 2024 deadline. The initial complaint Rumble filed on November 29, 2023 included

fictitious parties “John Doe Nos. 1-10” as putative defendants. Dkt. 1, ¶25. Rumble

alleged that John Doe Nos. 1-10 are third-party employees of “Check My Ads, Media

Matters, and/or Dewey Square Group” who, together with Defendants, “authored,

edited, and published … the defamatory October 24, 2023 article about Rumble on

CheckMyAds.org, upon which this action is partially based.”                     Id.   The initial

complaint further stated that Rumble “intend[ed] to identify John Doe Nos. 1-10

through discovery in this action.” Id.2 Accordingly, Rumble was on notice from the

outset that it would need to take discovery promptly to name John Doe Nos. 1-10 as

defendants in this action.

        Nearly one year later, the record demonstrates that Rumble failed to exercise

any diligence in obtaining the information it knew it needed to identify John Does 1-

10 before the June 7, 2024 deadline to add parties expired. The relevant timeline is as

follows:

    •   November 29, 2023 – Rumble files suit and includes fictitious John Does 1-10
        in its pleadings.
    •   March 12, 2024 – the parties conduct their 3.02(a)(1) planning conference and
        Rumble can seek discovery at any time from this date.


2
  Rumble filed an amended complaint on April 26, 2024, which included the same placeholder
allegations against John Does 1-10 and failed to add any new parties to this action. Dkt. 42, ¶¶ 25,
59-60.

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   •   April 11, 2024 – the Court enters its Case Management and Scheduling Order
       setting June 7, 2024 as Rumble’s deadline to move to add new defendants. Dkt.
       37, at 2.
   •   May 31, 2024 – Rumble serves its first discovery request in this action – i.e., the
       First Requests for Production of Documents. Amendment Deadline Extension
       Motion, 2.
   •   June 5, 2024 – Rumble serves its First Sets of Interrogatories, which asked
       Defendant Jammi to disclose who “participated in researching, drafting,
       editing, photo editing, fact-checking or publishing” the October 24, 2023
       article. Id.; Declaration of John M. Browning dated November 12, 2024
       (“Browning Decl.”) Ex. A, Interrogatory 1.
   •   June 5, 2024 – Rumble files a motion seeking to extend its deadline to seek
       leave to add parties or to amend its pleadings to August 6, 2024, which
       Defendants oppose. Dkts. 52, 57.
   •   July 1, 2024 – Defendants serve Responses and Objections to Rumble’s First
       Set of Requests for Production asserting reporters shield laws and other
       privileges against compelled disclosure of communications between
       Defendants, Media Matters and Dewey Square Group. Browning Decl. Ex. B,
       Responses 1-5, 7-14, and 16.
   •   July 5, 2024 – Defendant Jammi serves Responses and Objections to Rumble’s
       First Set of Interrogatories identifying all individuals who wrote, contributed to
       or edited the October 24, 2023 article. Id. Ex. A, Response 1.
   •   July 25, 2024 – Rumble issues subpoenas to non-parties Media Matters and
       Dewey Square Group. Browning Decl. Exs. C, D.
   •   October 29, 2024 – Rumble withdraws its motion to extend its time to add
       parties to August 7, 2024 and files a renewed motion to permit amendment at
       any time until 60 days after Defendants certify completion of their document
       productions.

This timeline refutes Rumble’s assertions of diligence. When it commenced this action

on November 29, 2023, Rumble knew it needed to obtain discovery to identify John

Does 1-10. Rumble was entitled to seek that discovery from March 12, 2024 onwards.

On April 11, 2024, the Court put Rumble on notice that the deadline to add parties

was June 7, 2024. And, despite this rapidly advancing deadline, Rumble waited




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another seven weeks before serving its First Requests for Production on May 31, 2024.3

Thus, despite having several months to begin the process of obtaining discovery,

Rumble failed to serve a single request for production, interrogatory or subpoena that

was even returnable before the June 7, 2024 deadline to add parties.4 And, despite

knowing that Defendants, Media Matters and Dewey Square Group have asserted

various privileges against compelled production of their communications (if any),

Rumble has filed no motions to compel. This is the opposite of the diligence required

to justify an extension of the amendment deadline and Rumble’s motion for an

extension of time should be denied accordingly.

       Rumble has also failed to satisfy the second and third Sosa factors because it has

delayed seeking an amendment of the pleadings even after receiving the names of

individuals who contributed to the October 23, 2023 article.                    On July 5, 2024,

Defendants served sworn interrogatory responses disclosing the names of every

individual who researched, wrote or edited the October 23, 2023 article. Browning

Decl. Ex. A, Response 1. That list included three current or former employees of

Check My Ads. In the more than four months that have passed since Rumble learned

the identity of these individuals, Rumble has failed to seek leave to amend its pleadings


3
 Rumble claims that it was justified to wait until May 31, 2024 before serving discovery so that it had
an opportunity to “amend[] its Complaint and … review Defendants’ Initial Disclosures. Amendment
Deadline Extension Motion, 2-3.
4
  Rumble’s filing of consecutive motions to extend the deadline to add parties does not excuse its lack
of diligence. The Court’s Case Management and Scheduling Order explicitly states that “[t]he filing
of a motion for extension of time does not toll the time for compliance with deadlines established by
Rule or order.” Dkt. 37, II.B.2. And “[f]ailure to complete discovery within the time established by
[the Case Management and Scheduling] Order shall not constitute cause for continuance.” Id.

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to add any one of them as a defendant to this action. Rumble’s failure to do so

underscores its lack of diligence, constitutes a waiver of any right it may have had to

amend the complaint to sue these individuals and requires the denial of this motion

seeking more time to add parties to this action.

    II.      An Order Extending Rumble’s Time to Add Defendants to this Action
             Would Prejudice Defendants

          The Court should also deny Rumble’s motion because the proposed extension

would prejudice Defendants and waste judicial resources. As things stand, Rumble’s

Amended Complaint alleges that Defendants Atkin and Jammi, founders of Check

My Ads, defamed Rumble by making five statements in the fall of 2023. Defendants

have briefed two motions to dismiss Rumble’s original and Amended Complaint.

Dkts. 30-35, 44-47, 58-59, 63. Their pending Motion to Dismiss the Amended

Complaint argues that the entire action should be dismissed, regardless of who

authored the October 24, 2023 article, because (a) the statements at issue are not

defamatory as a matter of law, (b) Rumble failed to plead the necessary element of

special damages and (c) Rumble cannot establish actual malice. Dkt. 44.                              On

November 7 and 8, 2024, the parties engaged in nearly four hours of oral argument,

and the Court will soon issue a decision that could ultimately lead to dismissal of this

entire action. Dkts. 77, 79.5 Meanwhile, Defendants have expended significant



5
  The Court has already stated that it will dismiss Rumble’s defamation by implication claim. And,
while the Court has indicated that it is unlikely to grant dismissal with prejudice, it may still dismiss
the Amended Complaint without prejudice and permit Defendants an opportunity to seek dismissal
of Rumble’s Second Amended Complaint with prejudice. See n. 9, infra.

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resources to collect and review documents in response to Rumble’s First Requests for

Production.6 Discovery is currently due to close on February 4, 2025. Dkt. 37.7

       An extension of time permitting Rumble to add Dewey Square Group, Media

Matters and/or their employees as defendants at this juncture would force Defendants

to face an entirely different case to the one they have spent the last year litigating. As

the Amended Complaint makes clear, Rumble intends to transform its relatively

narrow defamation claims into a sprawling conspiracy theory in which Defendants’

Check My Ads Institute allegedly worked with two separate entities – Dewey Square

Group and Media Matters – to drive Rumble out of business. See, e.g., Dkt. 42, ¶¶ 24-

25, 60, 68. Rumble’s counsel confirmed at oral argument that she hoped to amend the

pleadings to incorporate vague and unspecified allegations of “collusion.” There is no

serious dispute that adding Media Matters and Dewey Square Group employees as

defendants to this action sixty days after Defendants complete their document

productions would essentially restart the case on a significantly more complex

premise, vastly expand the scope of discovery and require unreasonable extensions of

all case deadlines going forward. Essentially, the proposed amendment would start




6
 Defendants are in the process of reviewing documents collected in response to Rumble’s First
Requests for Production and anticipate substantially completing their production no later than early
December 2024.
7
  While Defendants oppose Rumble’s request to revive its deadline to add parties, they would likely
not oppose a reasonable extension of other deadlines tailored to the needs of the case in light of the
Court’s forthcoming decision on their Motion to Dismiss and Rumble’s anticipated Second Amended
Complaint. See, e.g., Markle v. Markle, 8:22-cv-00511-CEH-TGW (M.D. Fla.), Dkts. 61, 78, 111
(granting limited extensions of prospective case deadlines in libel case during pendency of motions to
dismiss pleadings).

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this lawsuit again from scratch.             This burden weighs heavily against permitting

Rumble more time to add parties to this action.8

        It would also prejudice Defendants and waste judicial resources to permit

Rumble to radically change course while Defendants’ Motion to Dismiss is pending

or even after it is decided. The pending Motion to Dismiss focuses on whether five

discrete statements identified in the Amended Complaint are actionable. See Dkt. 44.

If the Court determines that the statements are not capable of a defamatory meaning

or that Rumble failed to plead statutory damages, the statements are not actionable as

a matter of law and the Amended Complaint is due to be dismissed regardless of

whether any other third-parties were involved in their publication. See, e.g., Markle v.

Markle, 2024 WL 1075339, at *13 (M.D. Fla. Mar. 12, 2024) (granting dismissal with

prejudice because “all of the statements Plaintiff seeks to hold Defendant liable for are

non-actionable under Florida law and the First Amendment”). If the statements in

suit are non-actionable, Rumble’s proposed amendment to sue Dewey Square Group

and Media Matters as additional authors of the October 23, 2024 article would be

futile. Id.




8
 See, e.g., Jasty v. Jasty, 2021 WL 2808724, at *5 (M.D. Fla. Feb. 24, 2021) (holding that a request to
amend pleadings approximately a month before close of discovery was unduly prejudicial where the
amendment would require additional time for service, responses, and discovery); Al -Saadi, 2022 WL
2056802, at *5 (“Allowing a newly amended complaint would re-open the pleadings and require
Defendants to raise new motions to dismiss, which would significantly tax the parties’ and the Court's
resources through the briefing and necessary rulings … and the parties would basically have to start
all over again and the Court would likely need to reset all the deadlines in the case, including trial, yet
again.”).

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       Even if the Court dismisses the Amended Complaint without prejudice and

permits Rumble one more chance to replead its claims, Defendants anticipate filing a

third motion to dismiss on similar grounds that will seek dismissal with prejudice. 9 It

would be manifestly unfair to deprive Defendants of their opportunity to dismiss this

action once and for all by permitting Rumble to belatedly refashion the case by

introducing Dewey Square Group and Media Matters as defendants – particularly

since its deadline to name those parties as defendants passed almost six months ago.

For the same reason, even if the Court denies Defendants’ Motion to Dismiss in part,

it would be unfair and highly prejudicial to leave the amendment deadline open for

Rumble to add new parties until the late stages of discovery.

       In sum, the Court should deny Rumble’s Motion to extend the time permitted

to add parties because the relief requested would prejudice Defendants and waste

judicial resources. Moreover, if the Court grants Defendants’ Motion to Dismiss the

Amended Complaint without prejudice, Defendants respectfully request that Rumble

be prohibited from adding new defendants to its Second Amended Complaint.

                                       CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court deny

Rumble’s motion for an extension of its deadline to file motions to add parties or to

amend its pleadings up to sixty (60) days after Defendants certify the completion of


9
 This was the procedure that the Court followed in ultimately dismissing the Markle defamation case
with prejudice. See Markle, 2023 WL 2711341, *10 (dismissing defamation claims without prejudice);
Markle v. Markle, 2024 WL 1075339, at *13 (M.D. Fla. Mar. 12, 2024) (dismissing subsequently
amended defamation claims with prejudice).

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 their production in response to Rumble’s First Requests for Production.

                      LOCAL RULE 3.01(g) CERTIFICATION

       Pursuant to Local Rule 3.01(g)(2), Defendants hereby certify that the parties

 met and conferred via email in connection with this motion but were unable to resolve

 all or part of the motion.

  SHULLMAN FUGATE PLLC                         DAVIS WRIGHT TREMAINE
                                               LLP
  By: /s/ Sarah Papadelias       .
  Deanna K. Shullman (SBN 514462)              John M. Browning*
  Sarah M. Papadelias (SBN 0125098)            Katherine M. Bolger*

  2101 Vista Parkway, Ste. 4006                1251 Avenue of the Americas
  West Palm Beach, Florida 33411               New York, New York 10020
  Telephone: (561) 429-3619                    Telephone: (212) 489-8230

  dshullman@shullmanfugate.com                 jackbrowning@dwt.com
  spapadelias@shullmanfugate.com               katebolger@dwt.com
                                               *Admitted Pro Hac Vice

                                               Counsel for Defendants Nandini Jammi and
                                               Claire Atkin




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